 Case 3:15-cv-01749-L-AGS Document 153 Filed 10/26/18 PageID.2186 Page 1 of 4



1    O’MELVENY & MYERS LLP
     M. RANDALL OPPENHEIMER (S.B. #77649)
2    roppenheimer@omm.com
     CHARLES C. LIFLAND (S.B. #108950)
3    clifland@omm.com
     DAWN SESTITO (S.B. #214011)
4    dsestito@omm.com
5    400 South Hope Street
     Los Angeles, California 90071-2899
6    Telephone: (213) 430-6000
     Facsimile: (213) 430-6407
7
     WILSON TURNER KOSMO LLP
8    ROBIN A. WOFFORD (137919)
     FREDERICK W. KOSMO, JR. (138036)
9    HUBERT KIM (204957)
     KATHERINE M. MCCRAY (243500)
10   550 West C Street, Suite 1050
     San Diego, California 92101
11   Telephone: (619) 236-9600
     Facsimile: (619) 236-9669
12   E-mail: rwofford@wilsonturnerkosmo.com
     E-mail: fkosmo@wilsonturnerkosmo.com
13   E-mail: hkim@wilsonturnerkosmo.com
     E-mail: kmccray@wilsonturnerkosmo.com
14
     Attorneys for Defendant
15   EXXONMOBIL REFINING & SUPPLY
     COMPANY AND EXXON MOBIL
16   CORPORATION

17   [Additional Counsel On Signature Pages]

18                            UNITED STATES DISTRICT COURT
19                      SOUTHERN DISTRICT OF CALIFORNIA
20   PERSIAN GULF INC., Individually and Case No. 3:15-cv-01749-L-AGS
     on Behalf of All Others Similarly
21   Situated,                           CLASS ACTION
22               Plaintiff,                    MOTION TO EXTEND DEADLINE
                                               FOR MOTIONS TO COMPEL
23               v.                            CONSUMER WATCHDOG
                                               SUBPOENA
24   BP WEST COAST PRODUCTS LLC;
     CHEVRON U.S.A. INC.; TESORO               Complaint Filed: June 21, 2018
25   REFINING & MARKETING                      Consolidated Compl. Filed: Aug. 8, 2018
     COMPANY LLC; EQUILON
26   ENTERPRISES LLC (D/B/A SHELL              Judge:          Hon. M. James Lorenz
     OIL PRODUCTS US); EXXONMOBIL              Courtroom:      5B
27   REFINING & SUPPLY COMPANY;
     VALERO MARKETING AND          Trial Date:    Not Set
28
                                 -1-           Case No. 3:15-cv-01749-L-AGS
       MOTION TO EXTEND DEADLINE FOR MOTIONS TO COMPEL CONSUMER
                                                  WATCHDOG SUBPOENA
 Case 3:15-cv-01749-L-AGS Document 153 Filed 10/26/18 PageID.2187 Page 2 of 4



1    SUPPLY COMPANY; PHILLIPS 66;
     ALON USA ENERGY, INC.; KERN
2    OIL & REFINING CO. and DOES 1-
     25,
3    Inclusive,
4                Defendants.
5
     RICHARD BARTLETT, et al.,                Lead Case No. 3:18-cv-01374-L-AGS
6    Individually and on Behalf of All Others (Consolidated with Case No. 3:18-cv-01377-
     Similarly Situated,                      L-AGS)
7
                                                CLASS ACTION
8                Plaintiffs,

9          v.

10   BP WEST COAST PRODUCTS LLC,
     et al.,
11
                 Defendants.
12
13         Defendants1 move the Court to grant an extension for the time period allowed in
14   Magistrate Judge Andrew G. Schopler’s Civil Chambers Rules (the “Chambers
15   Rules”) to file any discovery motion related to the outstanding discovery requests to
16   non-party Consumer Watchdog (the “Requests”). Defendants’ have discussed this
17   motion for an extension with Consumer Watchdog and Consumer Watchdog does not
18   oppose this motion. See Exhibit A, Declaration of Robin A. Wofford In Support Of
19   Motion To Extend.
20         Defendants served Consumer Watchdog with a subpoena seeking the
21   production of documents. Consumer Watchdog served objections and responses to
22   the subpoena on September 27, 2018. The parties agreed to meet and confer on
23   October 11, 2018, and Defendants sent a letter to Consumer Watchdog addressing
24   Consumer Watchdog’s responses and objections on October 9, 2018. Consumer
25   Watchdog replied to the letter with a letter and supplemental responses on October 16,
26
27   1
      Chevron U.S.A. Inc., Exxon Mobil Corporation, ExxonMobil Refining and Supply
28   Co., and Phillips 66 (“Defendants”).
                                          -2-          Case No. 3:15-cv-01749-L-AGS
      MOTION TO EXTEND DEADLINE FOR MOTIONS TO COMPEL CONSUMER
                                                          WATCHDOG SUBPOENA
 Case 3:15-cv-01749-L-AGS Document 153 Filed 10/26/18 PageID.2188 Page 3 of 4



1    2018. In its letter, Consumer Watchdog stated that it would “supplement these
2    responses with a privilege log pursuant to Fed. R. Civ. Pro. 45(e)(2)(A).” See Ex. A.
3    The parties have also met and conferred telephonically during this process. Despite
4    best efforts, the parties have not resolved a number of disputes related to the Requests,
5    including issues of privilege. The parties believe that additional time is necessary to
6    resolve and/or fully crystalize the discovery disputes and that it is premature to bring
7    the disputes before the Court. Therefore, in order to preserve judicial efficiency, the
8    parties respectfully request the Court to extend the deadline to file discovery motions
9    related to the Requests by a period of 30 days from the service of the privilege log by
10   Consumer Watchdog to Defendants.2
11           Respectfully submitted,
12   Dated: October 26, 2018                 WILSON TURNER KOSMO LLP
13
                                             By:   s/ Robin A. Wofford
14                                                 ROBIN A. WOFFORD
                                                   FREDERICK W. KOSMO, JR.
15                                                 KATHERINE M. MCCRAY
                                                   HUBERT KIM
16
17   Dated: October 26, 2018                 O’MELVENY & MYERS LLP
18                                           By:   s/ Dawn Sestito
                                                   M. RANDALL OPPENHEIMER
19                                                 CHARLES C. LIFLAND
                                                   DAWN SESTITO
20
                                                   Attorneys for Defendant
21                                                 EXXONMOBIL REFINING &
                                                   SUPPLY CO. and EXXON MOBIL
22                                                 CORPORATION
     ///
23
     ///
24
     ///
25
26
27
     2
28       The parties reserve the right to seek additional extensions from the Court.
                                                  -3-          Case No. 3:15-cv-01749-L-AGS
          MOTION TO EXTEND DEADLINE FOR MOTIONS TO COMPEL CONSUMER
                                                                   WATCHDOG SUBPOENA
 Case 3:15-cv-01749-L-AGS Document 153 Filed 10/26/18 PageID.2189 Page 4 of 4



1
2    Dated: October 26, 2018                GIBSON DUNN & CRUTCHER LLP
3
                                            By:    s/ Theodore J. Boutrous, Jr.
4                                                  THEODORE J. BOUTROUS, JR.
5
                                                   Counsel for Defendant
6                                                  CHEVRON U.S.A. INC.
7
8    Dated: October 26, 2018                NORTON ROSE FULBRIGHT
9
                                            By:    s/ Joshua D. Lichtman
10                                                 JOSHUA D. LICHTMAN
11
                                                   Counsel for Defendant
12                                                 PHILLIPS 66
13                                   Signature Certification
14         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
15   and Procedures Manual, I hereby certify that the content of this document is
16   acceptable to Theodore J. Boutrous, Jr., counsel for Chevron U.S.A. Inc. and Joshua
17   D. Lichtman, counsel for Phillips 66 and that I have obtained each of the foregoing
18   person’s authorization to affix his or her electronic signature to this document.
19
20                                          By: s/ Robin A. Wofford
                                              Robin A. Wofford
21
22
23
24
25
26
27
28
                                 -4-      Case No. 3:15-cv-01749-L-AGS
       MOTION TO EXTEND DEADLINE FOR MOTIONS TO COMPEL CONSUMER
                                             WATCHDOG SUBPOENA
